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                                     No. 22-13444

                In the United States Court of
                Appeals for the Eleventh Circuit
                           CHRISTOPHER BAUGHCUM,
                                  JR., ET AL.,

                                                   Plaintiffs–Appellants,
                                            v.

                          GENOLA JACKSON, ET AL.,

                                                  Defendants–Appellees.


                               NOTICE OF FILING

      Plaintiffs-Appellants file this notice to alert the court of a potentially related

case. Georgia Second Amendment, Inc. v. Kemp, No. 23-11913 (“GSA”), is presently

pending before this Court and challenges the constitutionality of the same statute at

issue here. Unlike the present case, the decision on appeal in GSA was not based on

threshold standing requirements. Rather, the district court dismissed the claim on the

merits following this Court’s decision in National Rifle Association v. Bondi, 61

F.4th 1316 (11th Cir. 2023). See D. Ct. Order, GSA, No. 23-11913, Doc. 1-3 at 12

(June 9, 2023). Also unlike this case, GSA has been held in abeyance pending en

banc consideration of Bondi. See Order, GSA, No. 23-11913, Doc. 27-1 (Oct. 17,

2023).
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Dated: November 6, 2023                  Respectfully submitted,


                                         /s/David H. Thompson
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                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of Court

for the United States Court of Appeals for the Eleventh Circuit by using the appellate

CM/ECF system on November 6, 2023. Participants in the case are registered

CM/ECF users and service will be accomplished by the appellate CM/ECF system.


Dated: November 6, 2023                       /s/David H. Thompson
                                              David H. Thompson

                                              Counsel for Plaintiffs-Appellants
